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                          UNITED STATES DISTRICT COURT

             WESTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION

 JANE MB45 DOE,
                                                   Lead Case No: 1:17-cv-00029
                     Plaintiff,
                                                   Member Case NO.: 1:18-cv-01027
 v.                                                Hon. Gordon J. Quist

 MICHIGAN STATE UNIVERSITY; THE
 BOARD OF TRUSTEES OF MICHIGAN STATE
 UNIVERSITY; LAWRENCE GERARD NASSAR
 (individual and official capacity); WILLIAM D.
 STRAMPEL (individual and official capacity);
 JEFFREY R. KOVAN (individual and official
 capacity); DOUGLAS DIETZEL (individual and
 official capacity); GARY STOLLAK (individual
 and official capacity); DESTINY TEACHNOR-
 HAUK (individual and official capacity); KATHIE
 KLAGES (individual and official capacity); USA
 GYMNASTICS, INC.; TWISTARS USA, INC.
 d/b/a GEDDERTS’ TWISTARS GYMNASTICS
 CLUB USA; JOHN GEDDERT (individually); and
 KATHRYN GEDDERT (individually),

                     Defendants.

 Caleb Marker (P70963)                       Mark J. Zausmer (P31721)
 Ben Gubernick (P77912)                      Cameron R. Getto (P57300)
 Attorneys for Plaintiff                     ZAUSMER, AUGUST & CALDWELL, P.C.
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  STIPULATION AND ORDER ALLOWING DEFENDANTS TWISTARS USA, INC.,
  d/b/a GEDDERTS’ TWISTARS GYMNASTICS CLUB, USA, JOHN GEDDERT AND
             KATHRYN GEDDERT TO FILE OVERLENGTH BRIEF

        This matter having come before the Court by way of the parties’ stipulation, and the Court

being otherwise fully advised in the premises, orders as follows:

        Defendants Twistars USA, Inc. d/b/a Gedderts’ Twistars Gymnastics Club, USA, John

Geddert and Kathryn Geddert have stated their intent to file a Motion to Dismiss. Plaintiff intends

to resist the motion.

        IT IS HEREBY AGREED by and between the parties that they may file overlength briefs

for the Motion to Dismiss, the Response to the Motion to Dismiss, and the Reply to the Response

to the Motion to Dismiss.

IT IS SO ORDERED.


Dated: __________                     ___________________________________________
                                      United States District Court Judge



By:/s/ Caleb Marker (w/consent)              By:     /s/ Cameron R. Getto
   Caleb Marker (P70963)                             Cameron R. Getto (P57300)
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Dated: October 25, 2018                      Dated: October 25, 2018




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